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BAO 245B      (Rev. 12103) Judgment in a Criminal Case
              Sheet 1




                                              SOUTHERN         District of      ILLINOIS
UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
v.
ANGELA RENEE W H Y
                                                                       Case Number:                      4:05CR40022-003-JF'G
                                                                       USM Number:                       06678-025
                                                                       Judy Kuenneke, FPD
                                                                       Defendant's Attomey
THE DEFENDANT:
X pleaded gulty to count(s)         1 of the Indictment
17 pleaded nolo contendere to count(s)
-
   whch was accepted by the court
-
0 was found guilty on count(s)
   after a plea of not gullty

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                       Offense Ended          Q@
21 U.S.C. 846                    Conspiracy to Manufacture, Possess with Intent to Distribute            0112005          1
                                 and Distribution of 500 Grams or More of Methamphetamine




       The defendant is sentenced as provided in pages 2 through                     of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
17 The defendant has been found not guilty on count(s)
-
0 Count(s)
-                                                  -0 is        g are dismissed on the motion of the United States.
         It is ordered that the defendant must not@ the i.nned States anorney for this d ~ s t r ~with~n
                                                                                                  rt   30 da s of any change of name, res~dcn
or maihng address until all tines, reshtution, costs, and special assessments imposed by th~s
                                                                                            judgment arc fuhy paid. ifordered to pay rest~tuho
the defendant must notify the coun and Un~tedStates anorncy af matenal changcs in economlc circumstances




                                                                       J. Phil Gilbert. District Judge
                                                                       Name a m n of Judge
             Case 4:05-cr-40022-JPG                   Document 90           Filed 10/13/05        Page 2 of 6     Page ID #165
A 0 245B      (Rev. 12103)Judgment in Criminal Case
              Sheet 2 - hplpn&ment

                                                                                                     Judgment - Page 2
 DEFENDANT:                      ANGELA RENEE W H Y
 CASE NUMBER:                    4:05CR40022-003-JF'G


                                                             IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of      135 months on Count 1




    x The court makes the following recommendations to the Bureau of Prisons:
           That the defendant be placed in the Intensive Drug Treatment Program.




    X The defendant is remanded to the custody of the United States Marshal.

    0 The defendant shall surrender to the United States Marshal for this district:
    -
      0
      -    at                                -
                                             0 a.m.       g p.m. on
        -
        0       as notified by the United States Marshal.

    -
    0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

        -
        0       before 2 p.m. on

        -
        0       as notified by the United States Marshal.
        0
        -       as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                            to

a                                                     , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                            BY
                                                                                 DEPUTY UNITED STATES MARSHAL
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A 0 245B      (Rev. 12/03) Judgment in a Criminal Case
              Sheet 3 S u p e r v i s e d Release
                                                                                                           Judgment-Page    3
 DEFENDANT:                    ANGELA RENEE MURPHY
 CASE NUMBER:                  4:05CR40022-003-JPG
                                                           SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:            5 years on Count 1.




      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from th
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
  I'he defendant shall not unlawfull possess a controlled substance. The defendant shall refrain from any unlawful use o f a controlled
 substance. The defendant shall suiml; to one drug test w ~ t h ~1n5 days of rclcase from lmprlsonrnent and at least nvo penodtc drug tests
 thereafter, as determined by the court

 -    The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
 -    The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

 -    The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

 -    The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
      student, as directed by the probation officer. (Check, if applicable.)
 0
 -    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~aymentssheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional condition
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;
           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
           each month;
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or 0th
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
           the defendant shall not fiequent places where controlled substances are illegally sold, used, distributed, or administered;
           the defendant shall not assoctate w~thany ersons rn aged in crlrnlnal acnwty and shall not acsoclate wth any person convtcted
           felony, unless granted pcrnilsston to do co\y the progatlon officer,
           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of an
           contraband observed in plain view of the probation officer;
           the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement office
           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without th
           permission of the court; and
           as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's crimin
           record or           history or characteristics and shall permit the probation officer to make such nohfications and to c o n t i i th
           defendant s compliance with such notification requirement.
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A 0 245B   (Rev. 12103) Judgment in a Criminal Case
           Sheet 3C - Supervnsed Release
                                                                                            Judgment-Page    4
DEFENDANT:                    ANGELA RENEE MURPHY
CASE NUMBER:                  4:05CR40022-003-JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
                                  1                                     r
       The defendant shall pa any financial penal that 1s Imposed b this jud ent and that remains unpaid at the
commencement of the term o supervised release. ?'he defendant shal pay the g e in installments of $10.00 or ten percent o
his net monthly income, whichever is greater.
  The defendant shall provide the probation officer and the Financial litigation Unit of the United States Attorney's O e c e
with access to any r e y t e d financial information. The defendant 1s adwsed that the probation office may share fmanc~al
information w ~ t hthe manclal lltlgatlon Unit.
  The defendant shall appl all monies received from income tax refunds, lottery winnings, judgments, and/or any other
anticipated or unexpected &mncial          $ina
                                          to the outstanding court-ordered fmancial obligation. The defendant shall
immediately notify the probation of lcer of the receipt of any indicated monies.
  The defendant shall articipate as directed and approved by the probation officer in treatment for narcotic addiction, drug
                         'I
dependence, or alcoho dependence, which includes urinalysis or other drug detection measures and which may require
residence and/or partici ation in a residential treatment facility. Any participation will require complete abstinence from all
alcoholic beverages. d e defendant shall pay for the costs associated with substance abuse counselmg and/or testing based
on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total costs of
counselmg
          Case 4:05-cr-40022-JPG                           Document 90            Filed 10/13/05          Page 5 of 6      Page ID #168
AO 245B   (Rev. 12/03) ~ u d w int a Criminal Case
          Sheet 5 C r i m i n a l Monetaty Penalties
                                                                                                           Judgment- Page 5
DEFENDANT:                         ANGELA RENEE MURPHY
CASE NUMBER:                       4:05CR40022-003-JPG
                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                                -
                                                                              Fine                               Restitution
TOTALS            $ 100.00                                                 $ 200.00                            $ 0


0 The determination of restitution is deferred until -
-                                                     . An Amended Judgment in a Criminal Case(A0 245C) will be enter
     after such determination.

O_ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise
     the priority order or percentage payment columnielow. However, pursuant to 18
     before the United States 1s pald.
                                                                                                   Js.~.
                                                                                             9 3664&, all nonfederal victims must be p

Name of Pavee                                 Total Loss*                             Restitution Ordered               Prioritv or Percentage




TOTALS                               $                                            $


0
-    Restitution amount ordered pursuant to plea agreement $

-
0    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     x the interest requirement is waived for the                  x    fme        restitution.

     0 the interest requirement for the
     -                                                 -
                                                       0    fine       0 restitution is modified as follows:
                                                                       -
* Findings for the total amount of losses are re uired under Chapters 109A, 110,11OA,and 113A of Title 18 for offenses committed on or aft
September 13, 1994, but before April 23, 1996.
          Case 4:05-cr-40022-JPG                     Document 90         Filed 10/13/05        Page 6 of 6         Page ID #169
Ao 245R
~~-
  - --    (Rev. 12/03) ludement in a Criminal Case
          Sheet 6 - ~ched;le of Payments
                                                                                                     Judgment - Page 6
DEFENDANT:                 ANGELA RENEE MURPHY
CASE NUMBER:               4:05CR40022-003-JPG

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A    XI Lump sum payment of $                               due immediately, balance due

          -
          0     not later than                                 o r
          -
          o     in accordance           I C,         1 D,       E, or     1 F below; or
B    g    Payment to begin immediately (may be combined with            1 C,      -
                                                                                  0 D, or     1 F below); or
 C   g    Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                      (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    1    Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E         Payments are due immediately, through the Clerk of the Court, but may be paid ftom prison earnings in compliance with the
          Inmate Financial Responsibility Program. Any Financial penalties that remain unpaid at the commencement of the term of
          supervised release shall be paid at the rate of $             per month,       % of defendants monthly gross earnings,
          whichever is greater.

F    x    Special instructions regarding the payment of criminal monetary penalties:
          While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent of his net
          monthly income, whichever is greater.




Unless the court has express1 ordered otherwise, ifth~sjud 'men1 unposes imprisonment, pa ent of crirmnal monetary penalties is due durin
Respons~b~l~ty
                              Y
imprisonment. All cnmina moneta penalt~es,except h~oscpaymenb made through tf?~ederal Bureau of Pnsons' Inmate Fmanc~
               Program, are made t o x c clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed




-
0    Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




-
0    The defendant shall pay the cost of prosecution.
0
-    The defendant shall pay the following court cost(s):
-
0    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order. (1 assessmen6 (2) rcstih~ionprincipal, (3) restitution interest, (4) fine pnnc~pal,
( 5 ) fine interest, (6) commun~tyresntutlon, (7) penal& and (8) costs, ~ncludlngcosl of prosecut~onand court costs.
